                                        UNITED STATES BANKRUPTCY COURT
                                             EASTERN DISTRICT OF MICHIGAN


In the Matter of:


Mary A. Krutsch                                                       Chapter 13
                                                                       Case Number: 18-55881
                                                                       Judge Phillip Shefferly
        Debtor
                                                   /


                                                          AFFIDAVIT

STATE OF MICHIGAN                            )
                                             )SS
COUNTY OF WASHTENAW                          )

        I, Mary A. Krutsch being first duly sworn and deposed, state:

        1. I reside at 1702 Washington Avenue, Jackson, MI 49203.

        2. I filed a Chapter 13 Bankruptcy on November 27, 2018.

        3 I am disabled and my main sources of income are from social security and a widow’s benefit.


 Date March 6, 2019                                    Signature   /s/ Mary A. Krutsch
                                                                   Mary A. Krutsch



Subscribed and sworn to before me this 6th day of March, 2019.



 Signature    /s/ Kimberly D. Justice

         Notary Public – State of Michigan
         My Commission Expires 4-24-22
         Acting in Washtenaw County




             18-55881-pjs        Doc 42      Filed 03/19/19        Entered 03/19/19 16:13:10     Page 1 of 1
